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    QHFHVVDU\DFDGHPLFDGMXVWPHQWVDFFRPPRGDWLRQVDQGPRGLILFDWLRQVWRRQHRILWVVWXGHQWV

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    VWXGHQWVZLWKGLVDELOLWLHVERWKHQWLWLHVDVFKRROGLVWULFWDQGDFRXQW\RIILFHRIHGXFDWLRQKDYH

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    WHUPV+RZHYHUWKHUHPDLQLQJWHUPVDUHWKHPRVWRQHURXVRIWKHDJUHHPHQWVEXWDUHDOVRWKH

    PRVWEHQHILFLDOWRWKHLPSDFWHGVWXGHQWV%RWKRIWKHHQWLWLHVZHUHKDYLQJGLIILFXOWLHVZLWK

    SURSHUO\LPSOHPHQWLQJWKHWHUPVDVUHTXLUHGE\WKHODQJXDJHRIWKHDJUHHPHQWVDQG,ZDV

    FROODERUDWLQJZLWKERWKWRGHWHUPLQHYLDEOHZD\VIRUWKHPWREHVWLPSOHPHQWWKHWHUPVVRWKDW

    WKHVWXGHQWVUHFHLYHWKHPD[LPXPEHQHILWSRVVLEOH,KDYHQRWEHHQDEOHWRLQIRUPHLWKHUHQWLW\

    WKDW,ZLOOQRORQJHUEHZRUNLQJRQWKHLUPDWWHUVDQGLWLVXQOLNHO\WKDWHLWKHURIWKHPKDVDQ\

    NQRZOHGJHRIZKDWLVRFFXUULQJLQWKH6DQ)UDQFLVFR2&5RIILFH

            ,QIDFWRQWKHDIWHUQRRQRI0DUFK,UHFHLYHGDQHPDLOIURPWKH

    UHSUHVHQWDWLYHRIWKHVFKRROGLVWULFWLQZKLFKKHDVNHGIRUDGGLWLRQDOFODULW\DERXWWKHDFWLRQV

    WKDWQHHGWREHFRPSOHWHGDQGKHUHTXHVWHGWKDW,FRQWDFWKLPWRGLVFXVVWKHPDWWHU%HFDXVH,

    KDYHEHHQSUHYHQWHGIURPVHQGLQJHPDLORXWVLGHRIWKHHGJRYHPDLOGRPDLQDQGFDQQRWPDNH

    RXWJRLQJFDOOVIURPP\ZRUNSKRQHQXPEHU,KDYHEHHQXQDEOHWRHLWKHUDFNQRZOHGJHRU

    UHVSRQGWRKLVHPDLO&ORVLQJWKH6DQ)UDQFLVFRUHJLRQDORIILFHZLOOFDXVHVLJQLILFDQWGHOD\LQ

    HDFKHQWLW\¶VDELOLW\WRFRPSOHWHWKHWHUPVRIWKHDJUHHPHQW7KHORQJHUWKHGHOD\WKHJUHDWHU

    WKHOLNHOLKRRGRIKDUPWRWKHVWXGHQWVZKRZHUHWKHLQWHQGHGEHQHILFLDULHVRIWKHDJUHHPHQWV¶

    UHPHGLDOSURYLVLRQV

            ,QDGGLWLRQWRWKHDERYHPHQWLRQHGVSHFLILFPDWWHUVQHDUO\DOORIWKHPDWWHUVIRU

    ZKLFK,DPUHVSRQVLEOHDOOHJHGLVFULPLQDWLRQEDVHGRQGLVDELOLW\7KHPDMRULW\DOOHJH

    GLVFULPLQDWLRQEHFDXVHRIDVFKRROGLVWULFW¶VIDLOXUHRUUHIXVDOWRSURYLGHQHFHVVDU\VHUYLFHVRU

    DFFRPPRGDWLRQVWRDVWXGHQWZLWKDGLVDELOLW\LQWKHSULPDU\RUVHFRQGDU\HGXFDWLRQDOVHWWLQJ

    :KHQDVWXGHQWZLWKDGLVDELOLW\LQSULPDU\RUVHFRQGDU\VFKRROGRHVQRWUHFHLYHWKHVHUYLFHV

    DQGDFFRPPRGDWLRQVWKDWDUHUHTXLUHGWRUHFHLYHDIUHHDSSURSULDWHSXEOLFHGXFDWLRQ )$3( 

    WKHUHVXOWLQJKDUPFDQEHVHULRXVERWKWRWKHVWXGHQW¶VHGXFDWLRQDOH[SHULHQFHDQGWRWKH



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    VWXGHQW¶VPHQWDOKHDOWKDQGZHOOEHLQJ7KXVDGGUHVVLQJUHVROYLQJDQGUHPHG\LQJDQ\

    IDLOXUHVDUHWLPHVHQVLWLYHWDVNV7KHVHPDWWHUVKDYHQRZEHHQVLWWLQJLGOHZLWKQRZRUN

    SHUIRUPHGRQWKHPIRUWKHSDVWGD\VDQGZHUHSUHYLRXVO\VXEMHFWWRDGLUHFWLYHIURP

    2&5DGPLQLVWUDWLRQWR³SDXVH´IRUVHYHUDOZHHNVDOOZRUNWKDWUHTXLUHGDQ\FRQWDFWRU

    FRPPXQLFDWLRQZLWKLQGLYLGXDOVRXWVLGHRI2&5,WLVQRWFOHDUZKHQRUZKHWKHUWKHVH

    FRPSODLQWVZLOOEHUHVROYHGJLYHQWKHFRPSOHWHODFNRILQIRUPDWLRQRUJXLGDQFHRQKRZWKH

    PDWWHUVZLOOEHUHDVVLJQHG0RUHRYHUHYHQLIP\PDWWHUVZHUHUHDVVLJQHGWRDQRWKHU

    LQGLYLGXDOLQDGLIIHUHQW2&5RIILFHWKHUHDVVLJQPHQWZLOOVWLOOEHGHWULPHQWDOWRWKHWLPHO\

    DQGVXFFHVVIXOFRQFOXVLRQRIWKHPDWWHUV

            &ORVLQJWKH6DQ)UDQFLVFR2&5RIILFHDOVRKLQGHUV2&5¶VDELOLW\WRHQVXUHWKDW

    HGXFDWLRQDOLQVWLWXWLRQVLQ&DOLIRUQLDDUHSK\VLFDOO\DFFHVVLEOHWRVWXGHQWVDQGRWKHUVZLWK

    GLVDELOLWLHVZKRVHHNWREHQHILWIURPWKHVHUYLFHVSURJUDPVRUDFWLYLWLHVRIWKHLQVWLWXWLRQV

    %RWK6HFWLRQDQG7LWOH,,PDQGDWHWKDWWKHSURJUDPVDQGDFWLYLWLHVRIHGXFDWLRQDO

    LQVWLWXWLRQVEHDFFHVVLEOHWRSHRSOHZLWKGLVDELOLWLHV3K\VLFDODFFHVVLELOLW\LVKLJKO\WHFKQLFDO

    DQGLVJRYHUQHGE\DYHU\VSHFLILFVHWRIVWDQGDUGVWKDWKDYHDWWKHLUFRUHSUHFLVH

    PHDVXUHPHQWVIRUYDULRXVREMHFWVDQGSRWHQWLDOEDUULHUVWRDFFHVV$VDQH[DPSOH2&56DQ

    )UDQFLVFRKDVUHFHLYHGQXPHURXVFRPSODLQWVDERXWKLJKVFKRROIRRWEDOOVWDGLXPVDQGRWKHU

    SHUIRUPDQFHYHQXHVDFURVVWKH6WDWHRI&DOLIRUQLDWKDWODFNDFFHVVLELOLW\)RU2&5WR

    LQYHVWLJDWHWKHFRPSODLQWVSURSHUO\DQGWKRURXJKO\LWPXVWSHUIRUPDQLQSHUVRQSK\VLFDO

    LQVSHFWLRQRIWKHVWDGLXPVDQGYHQXHVDORQJZLWKWKHLUIHDWXUHVWRREWDLQSUHFLVH

    PHDVXUHPHQWV WHUPHGDQDFFHVVLELOLW\VXUYH\ 7KLVFDQLQYROYHQXPHURXV2&5VWDIIDQG

    VHYHUDOGD\VRQVLWHDWWKHVWDGLXPRURWKHUIDFLOLW\7KHLQVSHFWLRQVFDQEHGLIILFXOWWR

    FRRUGLQDWHDQGH[SHQVLYHWRSHUIRUPSDUWLFXODUO\LIWKH\PXVWQRZEHGRQHE\2&5VWDII



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    WUDYHOLQJIURPRXWRIVWDWH7KLVPD\UHVXOWLQVXUYH\VQRWEHLQJSHUIRUPHGLQDWLPHO\PDQQHU

    RUQRWEHLQJSHUIRUPHGDWDOO

            (GXFDWLRQDOLQVWLWXWLRQVWKDWKDYHFRPHWRUHO\RQ2&56DQ)UDQFLVFRWRSURYLGH

    WKHPZLWKWHFKQLFDODVVLVWDQFHDQGSURDFWLYHWUDLQLQJSUHVHQWDWLRQVZLOODOVREHKDUPHGE\WKH

    RIILFH¶VFORVLQJ,DPDPHPEHURI2&56DQ)UDQFLVFR¶V³FXVWRPHUVHUYLFHWHDP´ &67 7KH

    &67LVUHVSRQVLEOHIRUUHVSRQGLQJWRTXHVWLRQVDQGUHTXHVWVIRUDGYLFHRUDVVLVWDQFHUHJDUGLQJ

    FRPSOLDQFHZLWKFLYLOULJKWVODZVWKDWFRPHWKURXJKHPDLOVDQGSKRQHPHVVDJHV7KHUHTXHVWV

    RIWHQFRPHIURPDGPLQLVWUDWRUVRIVFKRROGLVWULFWVDQGSRVWVHFRQGDU\LQVWLWXWLRQVDQG

    HOHPHQWDU\VHFRQGDU\DQGSRVWVHFRQGDU\WHDFKHUVFRXQVHORUVDQGRWKHUVWDII7KRVHVFKRRO

    RIILFLDOVZLOOQRORQJHUKDYHWKHDELOLW\WRKDYHWKHLULVVXHVDQGTXHVWLRQVDGGUHVVHGLQD

    WLPHO\PDQQHURUPD\EHDWDOO

            %DVHGRQP\NQRZOHGJHDQGH[SHULHQFH,GRQRWWKLQNWKDWWKH'HSDUWPHQWRI

    (GXFDWLRQFDQPHHWLWVVWDWXWRU\REOLJDWLRQVWRLQYHVWLJDWHDQGHQVXUHFRPSOLDQFHZLWKIHGHUDO

    FLYLOULJKWVODZLIWKHHQWLUH6DQ)UDQFLVFRUHJLRQDORIILFHRI2&5LVFORVHG7KH6DQ)UDQFLVR

    UHJLRQDORIILFHKDVDOZD\VEHHQRQHRIWKHEXVLHVWDQGPRVWSURGXFWLYHRIWKH2&5UHJLRQDO

    RIILFHV,DPLQIRUPHGDQGEHOLHYHWKDWPDQ\RIWKHRWKHURIILFHVEHLQJPDUNHGIRUFORVXUH

    DOVRUHFHLYHDODUJHUQXPEHURIFRPSODLQWVDQGUHVROYHDKLJKHUQXPEHURIWKHPSDUWLFXODUO\

    WKH1HZ<RUNRIILFH7KXVWKHFORVXUHRIWKHWRSSHUIRUPLQJRIILFHVLQ2&5PDNHVOLWWOH

    VHQVH&ORVLQJWKHPDQGWUDQVIHUULQJWKHLUODUJHQXPEHURIFDVHVWRWKHUHPDLQLQJRIILFHVZLOO

    RYHUEXUGHQWKHUHPDLQLQJRIILFHVDQGVHYHUHO\GLPLQLVKWKHRYHUDOOHIILFLHQF\DQGSURGXFWLYLW\

    RI2&57KLVGLPLQLVKPHQWZLOOXOWLPDWHO\EHGHWULPHQWDOWRWKHULJKWVDQGLQWHUHVWVRIDOOZKR

    KDYHEHHQVXEMHFWHGWRGLVFULPLQDWLRQE\DQHGXFDWLRQDOLQVWLWXWLRQDQGZKRILOHDFRPSODLQW

    RIGLVFULPLQDWLRQZLWK2&57KHVHLQGLYLGXDOVZLOOQRORQJHUUHFHLYHDWLPHO\UHVSRQVHWR



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        YLQGLFDWHWKHLUFLYLOULJKWVRUEHDEOHWRREWDLQDSURSHUUHPHG\7KHWLPHO\LQYHVWLJDWLRQDQG

        UHVROXWLRQRIGLVFULPLQDWLRQFRPSODLQWVVHUYHVDQRWKHULPSRUWDQWSXUSRVH±LWLGHQWLILHV

        GLVFULPLQDWRU\DFWLRQVSROLFLHVRULQGLYLGXDOVDQGDWWHPSWVWRFRUUHFWWKHPEHIRUHWKH\

        IXUWKHUGLVFULPLQDWHDQGKDUPRWKHUV:LWKRXWWLPHO\FRUUHFWLYHDFWLRQWKHOLNHOLKRRGRI

        DGGLWLRQDOGLVFULPLQDWLRQRFFXUULQJRQO\LQFUHDVHV

                (YHU\VWXGHQWUHJDUGOHVVRIVH[GLVDELOLW\UDFHFRORURUQDWLRQDORULJLQLV

        HQWLWOHGWRDQHTXDORSSRUWXQLW\WRREWDLQDPHDQLQJIXOHGXFDWLRQWKDWZLOOVHUYHWKHPZHOOLQ

        OLIH)RUPDQ\VWXGHQWVDQGSDUHQWV2&5LVWKHVDIHJXDUGIRUWKDWRSSRUWXQLW\DQGDWWLPHVD

        ODVWUHVRUW&ORVLQJVHYHQRI2&5¶VUHJLRQDORIILFHVDQGFUHDWLQJDGGLWLRQDOEDFNORJDQGZRUN

        IRUWKHUHPLQLQJILYHRIILFHVZLOOXQGRXEWHGO\GHOD\WKHLQYHVWLJDWLRQDQGUHVROXWLRQRIDOO

        2&5FRPSODLQWVDQGIXUWKHUKDUPWKRVHVHHNLQJWRKDYHGLVFULPLQDWLRQDGGUHVVHGDQG

        UHPHGLHG7KLVZLOOEHQHILWQRRQHRWKHUWKDQWKRVHZKRKDYHQRH[SHULHQFHZLWKRUGHGLFDWLRQ

        WRSURWHFWLQJWKHFLYLOULJKWVRIRXUQDWLRQ¶VVWXGHQWVEXWIRUSHUVRQDOUHDVRQVEHOLHYHFORVLQJ

        WKHRIILFHVZLOOVRPHKRZEHWWHUWKHVHUYLFHVSURYLGHGE\WKHJRYHUQPHQW8QIRUWXQDWHO\QR

        VHUYLFHVRUXQWLPHO\VHUYLFHVGRQRWPDNHEHWWHUVHUYLFHV

          ,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVWKDWWRWKHEHVWRI

P\NQRZOHGJHWKHIRUHJRLQJLVWUXHDQGFRUUHFW

                    ([HFXWHGRQ0DUFKDW6DQ)UDQFLVFR&DOLIRUQLD

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                                              
                                                    BBV'RH'HFODUDQWBBBBBBBBBBBBBBBBBBB
                                                                'RH'HFODUDQW
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              EXHIBIT 1
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6XEMHFW                        ):):&+&21RWLFHWR(PSOR\HHV,PSDFWHGE\5HGXFWLRQLQ)RUFH 5,)
$WWDFKPHQWV                    LPDJHSQJ,QVWUXFWLRQVIRU('(PSOR\HHV,PSDFWHGE\5,)GRF[('5,)
                                ,QIRUPDWLRQDQG5HVRXUFHVGRF[2IILFH+RXUV²5HWLUHPHQW3DSHUZRUNDQG
                                3URFHVVB4XHVWLRQVDQG$QHPO 0% 2IILFH+RXUV5HWLUHPHQW3DSHUZRUNDQG
                                3URFHVVB4XHVWLRQVDQG$QVZHUV),1$/SGI)(565HWLUHPHQW)RUPV]LS&6565HWLUHPHQW
                                )RUPV]LS


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ôĲťϡϙŪôŜîÍƅϠϙaÍŘèēϙ͐͐Ϡϙ͑͏͔͑ϙ͓ϡ͕͒ϙaϙ
ĺϡϙFiϙѴFiЬôîϟČĺŽѳϙ
ŪæĤôèťϡϙFiϙϱϙbĺťĖèôϙťĺϙ(ıŕīĺƅôôŜϙIıŕÍèťôîϙæƅϙôîŪèťĖĺĲϙĖĲϙ>ĺŘèôϙϼI>Ͻϙ

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IϙÍıϙſŘĖťĖĲČϙťĺϙŜēÍŘôϙŜĺıôϙîĖċċĖèŪīťϙĲôſŜϟϙϙēĖŜϙôıÍĖīϙŜôŘŽôŜϙÍŜϙĲĺťĖèôϙťēÍťϙƅĺŪŘϙĺŘČÍĲĖƏÍťĖĺĲÍīϙŪĲĖťϙĖŜϙ
æôĖĲČϙÍæĺīĖŜēôîϙÍīĺĲČϙſĖťēϙÍīīϙŕĺŜĖťĖĺĲŜϙſĖťēĖĲϙťēôϙŪĲĖťϙϳϙĖĲèīŪîĖĲČϙƅĺŪŘŜϟϙϙīôÍŜôϙĲĺťôϠϙĖċϙƅĺŪϙôīôèťôîϙťĺϙ
ŜôŕÍŘÍťôϙŪĲîôŘϙÍĲĺťēôŘϙŕŘĺČŘÍıϙôϟČϟϠϙ"ôċôŘŘôîϙôŜĖČĲÍťĖĺĲϙŘĺČŘÍıϠϙ«ĺīŪĲťÍŘƅϙ(ÍŘīƅϙôťĖŘôıôĲťϙ
ŪťēĺŘĖťƅϙϼ(ÍŘīƅϱiŪťϽϠϙĺŘϙ«ĺīŪĲťÍŘƅϙôŕÍŘÍťĖĺĲϙIĲèôĲťĖŽôϙÍƅıôĲťϙϼŪƅϱiŪťϽϠϙƅĺŪϙÍŘôϙbiϙĖıŕÍèťôîϙæƅϙťēôϙ
ôîŪèťĖĺĲϙĖĲϙ>ĺŘèôϙϼI>Ͻϟϙϙ

ϙϙ
ĺϙŕŘĺŽĖîôϙƅĺŪϙſĖťēϙťēôϙıÍƄĖıŪıϙĺŕŕĺŘťŪĲĖťƅϙťĺϙċĺèŪŜϙĺĲϙƅĺŪŘϙťŘÍĲŜĖťĖĺĲϠϙƅĺŪϙſĖīīϙæôϙŕīÍèôîϙĺĲϙŕÍĖîϙ
ÍîıĖĲĖŜťŘÍťĖŽôϙīôÍŽôϙŜťÍŘťĖĲČϙ>ŘĖîÍƅϠϙaÍŘèēϙ͑͐Ϡϙ͑͏͔͑ϟϙϙϙ
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     x   īôÍŜôϟťÍħôϟĖııôîĖÍťôϟÍèťĖĺĲϟťĺϟŘôŽĖôſϟÍĲîϟèĺıŕīƅϟſĖťēϟťēôϟIĲŜťŘŪèťĖĺĲŜϟċĺŘϟ(ıŕīĺƅôôŜϟ
          IıŕÍèťôîϟæƅϟťēôϟI>ϟЂÍťťÍèēôîЃϥϙϙēĖŜϟîĺèŪıôĲťϟèĺĲťÍĖĲŜϟĖıŕĺŘťÍĲťϟĖĲċĺŘıÍťĖĺĲϟŘôČÍŘîĖĲČϟ
          ÍèèôŜŜϟťĺϟ("ϟċÍèĖīĖťĖôŜϦϟťŘÍĲŜĖťĖĺĲĖĲČϟƅĺŪŘϟſĺŘħϦϟÍĲîϟŕŘôŕÍŘĖĲČϟċĺŘϟÍîıĖĲĖŜťŘÍťĖŽôϟīôÍŽôϥϟϙ
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     x   (ĲŜŪŘôϟƅĺŪŘϙŘĖĲèĖŕÍīϙiŕôŘÍťĖĲČϙĺıŕĺĲôĲťϙϼiϽϙēÍŜϙƅĺŪŘϙèŪŘŘôĲťϙıÍĖīĖĲČϙÍîîŘôŜŜϠϙÍĲîϙÍϙ
          ČĺĺîϙŕôŘŜĺĲÍīϙŕēĺĲôϙĲŪıæôŘϙÍĲîϙôıÍĖīϙÍîîŘôŜŜϙťĺϙèĺĲťÍèťϙƅĺŪϟϙ

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                                         INSTRUCTIONS
                                              FOR
                          EMPLOYEES IMPACTED BY REDUCTION IN FORCE (RIF)
                                            3/11/25



PHYSICAL ACCESS TO ED FACILITY:
Effective 9:00 pm on March 11, 2025, your PIV card access to ED facilities will be removed. You are no
longer permitted to use it to access federal buildings or property, including your former ED office space,
without prior ED approval.
    x The agency will schedule a period of time for those employees who may need to pick-up
        personal belongings.

TRANSITION OF WORK:
March 12, 2025 - March 21, 2025: During this period, you will have limited IT access to complete work
transition activities – you will have access to ed.gov email, Quicktime, FedTalent and Login.gov.
         NOTE 1: Please ensure your Principal Operating Component (POC) has your current mailing
         address, and a good phone number and email address to contact you.
         NOTE 2: Please follow the instruction on Login.gov to change your account settings (i.e.,
         phone number, email, etc.) and authentication method. This will help you retain access to
         Employee Express (Leave and Earnings Statements, W-2 tax prep forms).
         NOTE 3: See item 5 in the attached Information and Resources document for important
         instructions on downloading eOPF records.

TIME AND ATTENDANCE:
During your transition period make sure you:
    ¾ Cancel all leave requests in Quicktime.
    ¾ Code your timecards for Pay Periods 7 through 13 as follows:
        PP 7: 3/10/25-3/21/25: Code your timecard as you normally would
        PP 8: Use Code 065 for week 1 and week 2
        PP 9: Use Code 065 for week 1 and week 2
        PP 10: Use Code 065 for week 1 and week 2
        PP 11: Use Code 065 for week 1 and week 2
        PP 12: Use Code 065 for week 1 and week 2
        PP 13: Use Code 065 for 6/2/25 and 6/9/25. Leave the remainder blank.

Once these timekeeping tasks are complete, do NOT continue to report your time and do NOT make any
other changes to past timesheets. The payroll team will confirm that your timecard is coded properly
for the duration of your administrative leave.

ADMINISTRATIVE LEAVE AND LIMITED TECHNOLOGY ACCESS:
Effective 5:00 pm on March 21, 2025, you will be placed on administrative leave and no longer have
access to ED accounts or systems.
    x Once your IT account is disabled, you will be mailed a shipping box and label to return government
        property (IT equipment, phone, PIV Card, Travel Card, etc.). You are required to return all
        government property within 7 days of receipt.
    x Returning Government Property: It is very important that your POC has your current mailing
        address and a good phone number and email address to contact you.
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OFFICIAL SPECIFIC EMPLOYEE RIF NOTICE:
On or about April 9, 2025, you will receive your employee specific RIF notice. It will include
information regarding severance pay and retirement benefits.

SEPARATION FROM THE DEPARTMENT OF EDUCATION:
On or about June 9, 2025, your employment with the Department of Education will end.

For additional information about Reductions in Force, visit the Office of Personnel Management RIF site.

For questions, please email WorkforceRestructuring@ed.gov.




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                                            Reduction in Force (RIF)
                                          Information and Resources
                                                   3/11/25



To help you navigate during this transition period, please use the information below in conjunction with the
information provided in the Instructions for ED Employees Impacted by RIF.


1. REDUCTION IN FORCE INTENT

ED has made the determination to initiate RIF procedures as part of the agency’s restructuring process. These
actions support Executive Order (EO) 14158, Implementing the President’s “Department of Government
Efficiency” Workforce Optimization Initiative, dated February 11, 2025 and Office of Personnel Management
Guidance on Agency RIF and Reorganization Plans, dated February 26, 2025.

2. ADMINISTRATIVE LEAVE

Once you receive written notice that you have been impacted by the RIF, you will be afforded a brief period
to transition work activities; after which, you will be placed on paid administrative leave effective Friday,
March 21, 2025.

You will remain on paid administrative leave for the duration of the “notice period” as specified in your written
notice.

Once on administrative leave, you will no longer be permitted to conduct the duties of your position and your
accounts will be disabled.
       NOTE 1: Please ensure your Principal Operating Component (POC) has your current mailing
       address, and a good phone number and email address to contact you.
       NOTE 2: Please follow the instruction on Login.gov to change your account settings (i.e., phone
       number, email, etc.) and authentication method. This will help you retain access to Employee Express
       (Leave and Earnings Statements, W-2 tax prep forms).
       NOTE 3: See item 5 below for important instructions on downloading eOPF records.
       NOTE 4: Once your IT account is disabled, you will be mailed a shipping box and label to return
       government property (IT equipment, phone, PIV Card, Travel Card, etc.). You are required to return all
       government property within 7 days of receipt.

3. PAY AND BENEFITS

Pay During Administrative Leave
While on paid administrative leave:
    x You will continue to be paid at the same rate and frequency as you did before you were placed on
       administrative leave.
    x You will continue to accrue annual and sick leave.
    x You will receive any scheduled Within Grade (Step) Increases.
    x You will maintain the same benefits as you did before you were placed on administrative leave.

Pay After Separating from the Agency


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Once you separate from the agency:
   x You will receive your RIF severance payout, if eligible.
   x OPM’s Severance Pay Estimation Worksheet is intended to allow those eligible for severance pay to
       calculate the approximate amount of severance pay he or she may receive.
   x The actual calculation formula is somewhat more complicated and technical therefore the actual
       payout will be provided by Office of Human Resources, Benefits and Retirement Branch.

Federal Employee Health Benefits
While on paid administrative leave, your health benefits will not change. Upon separation from the agency:
   x Federal Employee Health Benefits (FEHB) will continue for 31 days and may continue, with the
        employee paying 100%, plus a 2% administrative fee of the premium (with no contribution from
        the agency) for up to 18 months.
   x Federal Dental and Vision Insurance Program (FEDVIP) coverage ends upon separation.
   x Flexible spending accounts are closed on separation. Unspent money in a health care FSA is not
        refunded, although claims for purchases up to the date of separation will still be paid. Unspent
        money in a childcare FSA will remain available for use through the plan year.
   x For more information, visit OPM’s RIF Benefits Summary page.

4. VOLUNTARY SEPARATION INCENTIVES

Voluntary Early Retirement Authority (VERA): ED is currently offering Voluntary Early Retirement (Early Out),
through March 25, 2025. VERA is a strictly voluntary option that allows eligible employees to retire early. This
authority encourages more voluntary separations and helps agencies to complete needed organizational
changes with minimal disruption to the workforce.
    x There is no reduction in annuity if you are under the age of 62 as a FERS employee, unlike retiring
         under the normal Minimum Retirement Age (MRA) +10 rules. However, you must be at your MRA to
         become eligible for the FERS supplement.

As a reminder, employees who meet age and service requirements for Voluntary Retirement do not need the
VERA authority to retire and may apply to retire at any time.

Who is eligible for VERA?
If you are covered by the Civil Service Retirement System (CSRS) or the Federal Employees Retirement System
(FERS), then you are eligible for VERA if you meet the following requirements:

    x    At least 20 years of creditable service and at least 50 years old OR completed at least 25 years of
         creditable service regardless of age.
     x   Continuously employed by ED since at least January 12, 2025.
     x   Be in good standing with the agency (i.e., not in receipt of a final removal decision based upon
         misconduct, or unacceptable performance).
     x   Agree to separate from the Department by March 31, 2025

Application Procedures
  x To request a VERA, you must submit a complete retirement package by March 25, 2025. For your
       convenience, the attached Benefits and Work/Life email provides important information and forms
       required to apply for retirement.
  x All VERA applications must be received by 5:00 pm ET on March 25, 2025.
  x Incomplete packages will not be considered.


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  x   SUBMIT APPLICATION VIA EMAIL to BenefitsandWork/Life@ed.gov

5. SEPARATION

Retaining Personnel Records - Electronic Official Personnel Folder (eOPF)
To download and save your entire eOPF, please follow the instructions below using your ED account:
    x Go into the eOPF portal at OPM
    x Click “My eOPF Print Folder” tab at the top
    x Check “Select All”
    x Click one of the two print buttons
    x Click “My eOPF Print Status” tab at the top
        x Wait for the print request to process (this can take several minutes or longer depending on
           volume)
        x While waiting, read the instructions describing what the password will be for your
           document password
        x Password will be your last name plus the print number, which you will see in a box as the
           request is processing. Example: John Doe requested the print job and the system assigned
           1234 as the job number. The password would be Doe1234
    x When “View” appears in the “Action” box, click on it.
    x Save as a PDF
    x Open the PDF in Adobe and enter password

Outside Employment and Unemployment Benefits
  While on administrative leave:
   x You are not eligible to receive state unemployment benefits.
   x You are free to accept other employment subject to the ethics rules for outside employment and
       applicable federal law; however, you may not accept employment with another federal agency.

Once you are separated:
   x You are eligible to receive state unemployment benefits.
   x You are free to accept federal or non-federal employment, subject to the post-government employment
       ethics rules and applicable federal law.
   x You are entitled to reinstatement rights afforded all federal "displaced employees” for a period of three
       years.

Retention Standing
Your retention standing will be provided in your individual official RIF notice. Retention standing is an
employee’s relative standing on a retention register based on tenure, veterans’ preference, and length of
service augmented by performance credit.

6. CAREER TRANSITION

Available Employee Support
   x The Employee Assisstance Program (EAP) and WorkLife4You Program, provided by Federal
        Occupational Health (FOH), are available 24 hours a day, 7 days a week at 1-800-222-0364 (TTY:
        1-888-262-7848) or at www.FOH4you.com or www.worklife4you.com (new user registration
        code: ED) at no cost to you! You can also contact the benefits team at:
        BenefitsandWork/Life@ed.gov for additional information.


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Career Transition Assistance Plan (CTAP)
The Career Transition Assistance Plan (CTAP) is an intra-agency program that helps surplus or displaced federal
employees improve their chances of finding a new job in their agency, by giving them selection priority over
other applicants, as long as they're qualified for the job.

  You're eligible for CTAP if:
   1. You're a current federal employee who meets the definition of a surplus or displaced employee—
       you've received official notice that your job is no longer needed or that you will lose your job by a
       Reduction in Force.
   2. Your agency is accepting applications from within or outside of the permanent workforce.
   3. You meet the qualifications and other requirements of the job you're applying for.

Interagency Career Transition Assistance Plan (ICTAP)
The Interagency Career Transition Assistance Plan (ICTAP) is an interagency program that helps surplus or
displaced federal employees improve their chances of finding a new job at another agency (not their current
or former agency), by giving them selection priority over other applicants from outside the agency.

  You're eligible for ICTAP if:
   1. You're a current federal employee who meets the definition of a surplus or displaced employee—
       you've received official notice that your job is no longer needed or that you will lose your job by a
       Reduction in Force.
   2. The agency you're applying to is accepting applications from outside of their workforce.
   3. The job you're applying to is in the local commuting area.
   4. You meet the qualifications and other requirements of the job you're applying for. For more information
       on Career Transition, please visit the Employee's Guide to Career Transition

7. CONTACTS

    ¾ For additional information about Reductions in Force, visit the Office of Personnel Management RIF
      site.

    ¾ For general questions regarding next steps, please email workforcereshaping@ed.gov.

    ¾ For specific retirement or benefits questions, please contact benefits@ed.gov

    ¾ Use the Employee Assistance Program, if needed. The Employee Assisstance Program (EAP) and
      WorkLife4You Program, provided by Federal Occupational Health (FOH), are available 24 hours a day,
      7 days a week at 1-800-222-0364 (TTY: 1-888-262-7848) or at www.FOH4you.com or
      www.worklife4you.com.

    ¾ Should you lose access or need IT support, please contact the Help Desk at
      ocioenterprisehelpdesk@ed.gov; or call 202-708-HELP (202-708-4357) and select Option 2.
    ¾




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From:            Benefits and Work/Life
Cc:              Benefits and Work/Life
Subject:         Office Hours – Retirement Paperwork and Process | Questions and Answers
Date:            Friday, February 21, 2025 8:31:05 AM
Attachments:     image001.png
                 Office Hours - Retirement Paperwork and Process_Questions and Answers FINAL.pdf
                 FERS Retirement Forms.zip
                 CSRS Retirement Forms.zip


Distribution List: Employees who attended the “Office Hours – Retirement Paperwork and Process”
meeting on Tuesday, February 18, 2025, 12:00 PM-1:00 PM Eastern

Colleagues,

Thank you for joining me to discuss paperwork and process regarding retirement. As
promised, attached are the questions from the Teams Chat along with answers.

Thank you,



Mary Tittle
Branch Chief (Division of Benefits and Work/Life)
Office of Finance and Operations
U.S. Department of Education

Email: mary.tittle@ed.gov
Phone Number: (202) 987-1033

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